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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                         Case No. 4:19-cv-04281-KAW
                                   8                      Plaintiff,                       STATUS REPORT ORDER
                                   9             v.                                        Re: Dkt. Nos. 34, 35
                                  10     BTC-E, et al.,
                                  11                      Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On July 19, 2022, the Clerk entered default against defendants BTC-e (a/k/a Canton

                                  14   Business Corporation) and Alexander Vinnik. (Dkt. Nos. 34 & 35.) To date, the United States has

                                  15   not filed a motion for default judgment.

                                  16          Accordingly, on or before October 14, 2022, the United States shall file a motion for

                                  17   default judgment or, in the alternative, a status report explaining when the Government expects to

                                  18   file such a motion and the reason for the delay.

                                  19          IT IS SO ORDERED.

                                  20   Dated: September 13, 2022
                                                                                           __________________________________
                                  21                                                       KANDIS A. WESTMORE
                                  22                                                       United States Magistrate Judge

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